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8                               UNITED STATES DISTRICT COURT
9                             EASTERN DISTRICT OF CALIFORNIA
10                                     SACRAMENTO DIVISION
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12   RENEE KLEP, individually and as )                         Case No. 2:23-cv-00274-WBS-
     successor-in-interest to DARIN  )                         DB
13   KLEP, DECEDENT; A.K., a minor
     by her Guardian Ad Litem, RENEE )
14   KLEP,                           )
                                     )                         ORDER RE: PETITION FOR
15                                                             APPOINTMENT OF
                  Plaintiffs,        )                         GUARDIAN AD LITEM
16                                   )
            vs.                      )
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                                     )
18   COUNTY OF SISKIYOU; CITY        )                         [FRCP Rule 17/Local Rule
     OF MT. SHASTA, a Municipal      )                         202(a)]
19   entity; CHRIS STOCK, an         )
     individual; RICHARD EVANS; an   )
20   individual; WALTER MOORE; an    )
     individual; and JUAN            )
21   CASANOVA, an individual,        )
22                                   )
                  Defendants.        )
23                                   )
     ________________________________)
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28   Order Re: Petition for Appointment of Guardian Ad Litem
     Case No. 2:23-cv-00274-WBS-DB
     Case 2:23-cv-00274-WBS-DB Document 5 Filed 02/17/23 Page 2 of 2


1
             The Court having considered the petition of A.K. for the appointment of
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      Renee Klep as guardian ad litem for A.K. who is a minor and good cause
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      appearing therefor.
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             IT IS HEREBY ORDERED that Renee Klep be, and she is hereby
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      appointed as Guardian Ad Litem for A.K., a plaintiff in the above-entitled
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      action, and she is authorized to institute and prosecute the action mentioned in
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      the petition.
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9     Dated: February 16, 2023
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28   [Proposed] Order Re: Petition for Appointment of Guardian ad Litem
     Case No. 2:23-cv-00274-WBS-DB
                                                         -2-
